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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

  SPIRE STL PIPELINE LLC,                     )
                                              )
         Plaintiff(s),                        )
                                              )
         vs.                                  )       Case No. 4:18-CV-1327 SRC/DDN
                                              )
  3.31 ACRES OF LAND, et cet., et al.,        )
                                              )
         Defendant(s).                        )

      REPORT AND RECOMMENDATIONS OF THE COMMISSION TO DETERMINE
                         JUST COMPENSATION

            (Alan Poggemoeller and Sharon Poggemoeller-Tract No. MO-SC 307.000)

 I.     INTRODUCTION

        This is an eminent domain case filed by plaintiff Spire STL Pipeline LLC (hereinafter

 “Spire”). Under the Natural Gas Act, Spire has the authority to take an easement on private

 property for the purpose of constructing a natural gas pipeline on various parcels of real estate.

 The Court appointed this Commission pursuant to Federal Rule of Civil Procedure 71.1(h)(2) to

 determine the just compensation payable by Spire to each defendant. The subject of this Report

 and Recommendation is the Alan and Sharon Poggemoeller property, also known as Tract No.

 MO-SC 307.000. The Court held an evidentiary hearing on July 26-30, 2021, which all the

 commissioners attended in-person or remotely. At the beginning of the hearing, and at the

 conclusion, the Court instructed the Commission as to its duties by reading aloud to the

 Commissioners the Final Commission Instructions for Poggemoeller and Machens Hearing (the

 “Commission Instructions”). The Court also provided to each Commissioner a copy of the

 Commission Instructions.     In conducting its deliberations, the Commission adhered to the

 Commission Instructions. Those instructions can be found on the Court’s docket.

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        Having considered carefully all of the evidence and testimony offered by the parties, the

 Commission now unanimously recommends the Court order Spire to pay compensation to the

 defendants Alan Poggemoeller and Sharon Poggemoeller as set forth in this report and as

 summarized in Exhibit A, incorporated herein. The Commission makes the following findings in

 accordance with Rule 71.1(h)(2)(D).

 II.    RELEVANT STANDARD FOR JUST COMPENSATION

        Pursuant to the Commission Instructions, the Commission determined just compensation

 by finding the difference between the fair market value of the entire property immediately before

 it was taken on December 17, 2018, and the fair market value of remaining property immediately

 after the taking on December 17, 2018. In determining the fair market value, the Commission

 relied on the highest and best use of the property, meaning the most profitable and advantageous

 use the owner may make of the property interest, even if the property interest is presently used for

 a different purpose or is vacant, so long as there is a market demand for such use.

        As the Court instructed, under Missouri law, the defendant landowner has the burden of

 proving by the greater weight of the evidence the amount of just compensation to which the

 landowner is entitled. This means the landowner has the burden of causing the Commission to

 believe that the respective proposition is more likely true than not true.

        Under the Natural Gas Act, §717f(h), the law of the state in which the condemned property

 is located is used for determining just compensation. Therefore, even though condemnation under

 the Natural Gas Act is a matter of federal law, Missouri law is applied in determining just

 compensation.




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        A.     Just Compensation Standard in Missouri.

        The meaning of just compensation in Missouri is thoroughly discussed in the Missouri

 Supreme Court decision of City of St. Louis v. Union Quarry & Construction Company, 394

 S.W.2d 300 (Mo. 1965). In that decision, the court stated:

        The ultimate objective in this case, as in all condemnation cases, is to enforce the
       constitutional mandate ‘That private property shall not be taken or damaged for public
       use without just compensation.’ Constitution, Art. I, § 26. ‘Just compensation’ means
       the full and perfect equivalent in money of the property taken, Clark v. United States,
       8 Cir., 155 F.2d 157, but no more, for to award more than the value of the condemned
       property would result in the unjust enrichment of the condemnee. State ex rel. State
       Highway Commission v. Hackett, Mo.App., 370 S.W.2d 712. The ‘just compensation’
       referred to, generally speaking, is the ‘fair market value’ of the property at the time of
       the taking. Union Electric Co. v. Saale, Mo.Sup., 377 S.W.2d 427[1]; Union Electric
       Co. v. Pfarr, Mo.Sup., 375 S.W.2d 1; 4 Nichols on Eminent Domain, 3rd ed., § 12.2.
       The fair market value of land is what a reasonable buyer would give who was willing
       but did not have to purchase, and what a seller would take who was willing but did
       not have to sell. Union Electric Co. v. Saale, supra, 377 S.W.2d, l. c. 429. The
       landowner is entitled to the fair market value of the land at its highest and best
       use, City of St. Louis v. Vasquez, Mo.Sup., 341 S.W.2d 839; and in determining what
       constitutes the fair market value the uses of the land for which it is reasonably adapted
       or suited may be considered, including a special adaptation for a particular use, North
       Kansas City School Dist. of Clay County v. J. A. Peterson-Renner, Inc., Mo.Sup., 369
       S.W.2d 159, 164, having regard to the existing business wants of the community.
       Union Electric Co. v. Saale, supra. If such peculiar adaptation adds to its value, the
       owner is entitled to the benefit of it. 29A C.J.S. Eminent Domain § 160. In determining
       fair market value each case must be considered in the light of its own facts, not on the
       basis of some artificial rule, but of sound judgment and discretion on a consideration
       of all relevant circumstances. 29A C.J.S. Eminent Domain § 136(5). 394 S.W.2d 302.


        B.     Commission Instructions. Additionally, the Commission followed and applied the

 Commission Instructions, § T, in determining just compensation and fair market value.


        C.     Fair Market Value-Definition.

        Mo. Rev. Stat. §523.001(1) defines “fair market value” as:

                      523.001. Definitions. — For the purposes of this chapter, the
        following terms shall mean:



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           (1) "Fair market value", the value of the property taken after considering
        comparable sales in the area, capitalization of income, and replacement cost less
        depreciation, singularly or in combination, as appropriate, and additionally
        considering the value of the property based upon its highest and best use, using
        generally accepted appraisal practices. If less than the entire property is taken, fair
        market value shall mean the difference between the fair market value of the entire
        property immediately prior to the taking and the fair market value of the remaining
        or burdened property immediately after the taking.

        C.      Stigma Damage-Fear of a Hazard.

        In Missouri Pipeline Company v. Wilmes, 898 S.W.2d 682 (1995), the court held that the

 testimony by a landowner’s appraisal expert, stating that a gas pipeline on the property would

 diminish the value of that property by 25%, was not too speculative, and utilized an appropriate

 measure of damages, where that expert had 30 years’ experience as an appraiser, had viewed the

 subject property, and was familiar with real estate in the County. Further, federal courts have

 similarly allowed evidence of diminution in value caused by fear of a hazard which is incident to

 the use appropriated:

         Severance damages incorporate any "'injury due to the use to which the part
         appropriated is to be devoted[,]'" including "the hazards incident to [the proposed]
         use of the property taken[.]" West Virginia Pulp, 200 F.2d at 102 (citations omitted).
         "If fear of a hazard would affect the price a knowledgeable and prudent buyer would
         pay to a similarly well-informed seller, diminution in value caused by that fear may
         be recoverable as just compensation. However, severance damages based wholly on
         speculation and conjecture are precluded." Tenn. Gas. Pipeline Co., 2014 WL
         690700 at *12 (citations omitted).

         Columbia Gas Transmission, LLC v. 252.071 Acres in Balt. Cnty., Civil Case No.
         ELH-15-3462, 5 (D. Md. Dec. 8, 2016)

        D.      Maximum Injury Rule.

        The Commission takes note of the maximum injury rule and that it must make a

 determination as to whether it applies in this case. Under the maximum injury rule, the jury (or in

 this case the Commission) must base its verdict or decision on the most injurious use to which the

 property could be lawfully applied unless detailed construction plans which show the limits of the

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 condemnation are received into evidence. State ex Rel Hwy. & Tr. Com’n v. Cowger, 838 S.W.2d

 144 (Mo. Ct. App. 1992). In Cowger, the court found that the maximum injury rule only applies

 in the absence of detailed construction plans which limit the condemnation. In that case, the

 highway design plans were received into evidence. Those plans showed the nature and extent of

 the property being taken and showed the location of the highway improvements. In the present

 case Spire offered into evidence the detailed Construction Plans for the Poggemoeller tract

 (Plaintiff’s Ex. 21). Further, the Upland Erosion Control Revegetation and Maintenance Plan,

 Section IV. A, contains strict limitations which define the approved areas of project related

 construction and restoration ground disturbance permitted by the project. (Plaintiff’s Ex. 3, p. 7.)

 Finally, on April 30, 2020 Plaintiff released the full width of the right-of-way for use in full

 farming operations, including tillage, fertilizing, planting and harvesting, in accordance with

 Section A.8.5 of the Environmental Assessment. (Plaintiff’s Ex. 53.) All of this evidence

 illustrates in detail the scope of the easements, the nature and extent of the land taken and the

 location of the pipeline. Therefore, the Commission finds that the maximum injury rule does not

 apply in this case.


 III.   RELEVANT STANDARDS FOR RESTORATION OF THE PROPERTY

        The Commission Instructions, Section V., require that if the Commission believes

 additional restoration of the property is necessary to return the property to the pre-taking condition,

 then, when determining the damages due to a defendant for the taking of the permanent and

 temporary easements by Spire, the Commission must make a separate finding of what amount of

 money will be necessary to restore the property to the pre-taking condition. This amount must not

 be included in the amount of just compensation to which the Commission finds the landowner is

 otherwise entitled. Further, for purposes of determining the costs to restore the properties under

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 Section V, the Commissioners must not increase, decrease, and/or otherwise consider any future

 restoration or reclamation, regardless of any activity by the Federal Energy Regulatory

 Commission, by plaintiff Spire, or by the defendant landowners. Finally, the Commission must

 consider the condition of the properties only as of the date the case is submitted to the Commission

 for decision-making. That date was July 30, 2021.

         In determining this, the Commission considered whether there is a difference in the

 property from the pre-taking condition to the after-taking and after construction condition. This

 amount, if any, is not included in the amount of just compensation, but is a separate

 recommendation for an award.

         The Commission reviewed the Spire STL Pipeline Project Environmental Assessment (the

 “EA”), prepared by the staff of the Federal Energy Regulatory Commission (FERC) dated

 September, 2017. (Plaintiff’s Ex. 2.) The Commission takes notice of the EA including section

 A.8.1-General Pipeline Construction Procedures, the provisions applicable to actively cultivated

 cropland and the provisions of section A.8.2-Special Pipeline Construction Procedures, as those

 relate to agricultural areas as described in section A.8.2, under the subsection titled “Agricultural

 Areas”. The Commission notes that the Missouri Department of Agriculture does not require an

 Agricultural Impact Mitigation Agreement (AIMA), and therefore construction and restoration on

 agricultural land in Missouri is to completed in accordance with the Plan. The Plan is defined in

 the EA as the Upland Erosion Control, Revegetation, and Maintenance Plan, (herein the “Plan”).

 (Plaintiff’s Ex. 3.)

         The Commission has also reviewed the Spire STL Pipeline Project Implementation Plan

 dated August, 2018 (hereinafter the “Implementation Plan”). (Plaintiff’s Ex. 4.) The Commission

 finds that pursuant to FERC Environmental Condition No. 1, Spire shall follow the construction



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 procedures and mitigation measures described in its application and supplements (including

 responses to staff data requests) and as identified in the EA. Further, the Commission finds that

 pursuant to FERC Environmental Condition No. 6, the Project will adhere to the FERC’s Upland

 Erosion Control, Revegetation and Maintenance Plan.1

          In reviewing the complaints filed by the defendants in this matter relating to restoration,

 the Commission has applied the provisions of the EA, the Plan and the Implementation Plan in

 determining whether Spire has properly restored the property of defendants in accordance with

 the standards set forth therein.



 IV.      FINDINGS OF FACT

          After deliberations by all of the Commissioners, the Commission makes the following

 findings of fact:

          1.        The date of taking of the Poggemoeller property is December 17, 2018.

          2.        The highest and best use of the property before the taking is agricultural. The

 highest and best use of the property after the taking is agricultural.

          3.        The total acreage of the property before taking is 123.57 acres.

          4.        The total fair market value of the entire parcel (land) before the taking is

 $1,235,700.00 and the total value of the improvements is $00.00, for a total value of the entire

 parcel with improvements before the taking of $1,235,700.00.

          5.        The permanent easement taken is 2.63 acres.



 1 Pursuant to the Commission Instructions, §V, the Commissioners must not consider any future obligation for restoration or
 remediation by plaintiff Spire, the Federal Regulatory Commission, or the defendant landowners. Therefore, when considering
 the issue of whether additional restoration of the property is necessary to return the property to pre-taking condition, the
 Commission did not consider any future obligation for restoration or remediation by Spire, the Federal Regulatory Commission,
 or the defendant landowners, and the Commission considered the condition of the property only as of the date the case was
 submitted to the Commission for decision-making.

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        6.      The temporary workspace easement is 2.10 acres.

        7.      The additional temporary workspace easement is 1.950 acres.

        7.      The total fair market value of the entire parcel with improvements after taking is

 $1,187,842.00.

        8.      The Commission’s calculation is set forth below.




 IV.    DETERMINATION OF JUST COMPENSATION

                         Land and Improvements-Value Before Taking

 Description                            Size          $ Per Acre             Total
 Entire Parcel (land)                   123.57        $10,000.00             $1,235,700.00
 Improvements                           n/a           n/a                     $00.00
 Total Value (Before Taking)                                                 $1,235,700.00

                          Land and Improvements-Value After Taking

 Description                            Size          $ Per Acre             Total
 Entire Parcel (land) less 2.63 acres   120.94        $9,800.00              $1,185,212.00
 Permanent Easement Area                2.63          $1,000.00              $2,630.00
 Improvements                           n/a           n/a                    $00.00
 Total Value (After Taking)                                                  $1,187,842.00

        Temporary Workspace Easement and Add. Temporary Workspace Easement

 Description              Size $ Per Acre             Rental Rate Term              Total
 Temporary W.S Easement 2.100 $10,000.00              20%         2 Yr.             $8,400.00
 Add. Temp. W.S. Easement 1.950 $10,000.00            20%         2Yr.              $7,800.00
 Total                                                                              $16,200.00

                               Recapitulation of Just Compensation

 Value of Permanent Pipeline Easement                        $23,670.00
 Total Market Rent for Temporary Easements                   $16,200.00
 Loss of Value to 120.94 Remainder                           $24,188.00
 Total Just Compensation                                     $64,058.00




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          The Commission finds the reasonable value of total just compensation is $64,058.00.2 The

 Commission came to this decision as follows.

                                              Appraisal Experts

          The Commission finds that the reasonable value of the land is $10,000.00 per acre. In

 addition to other evidence, the Commission relied on the comparable sales presented by plaintiff’s

 expert appraiser Corey Sell, with particular attention placed on Comparable No. 1 in his appraisal

 report. This property was valued at $10,136.00 per acre, and had one ammonium pipeline and one

 gas pipeline present on the property. Comparable sale No.1 also had 94% tillable ground and was

 within close proximity to the subject property. The Commission also finds that comparable sale

 No. 6, set forth in the appraisal report of Corey Sell, is comparable to the subject property, in that

 it is located approximately one mile from the subject property. (Plaintiff’s Ex. 24.)

          Additionally, in the appraisal report of defendant’s expert appraiser, Linda Atkinson, the

 comparable sales described therein had an average sale price of $10,135.00 per acre. Ms. Atkinson

 concludes that the value of the subject property is $10,100.00 per acre. (Defendant’s Ex. Y.)

          After hearing all of the evidence and reviewing the reports, the Commission concludes that

 the pre-taking value of the property per acre is $10,000.00. 3

          The Commission finds that the rental rate for calculating the total market rent for the

 temporary easements should be 20%, after taking consideration of all of the evidence presented.

 With regard to this finding, the Commission found that the rental rate of 10% shown in the

 appraisal report of Corey Sell only minimally compensates a landowner for the loss of use of the




 2
   The Commission’s finding and recommendations of just compensation is separate and apart from the findings and
 recommendations relating to the Cost to Cure, which is contained in Section V of this report.
 3
   The Commission had little difficulty reaching a consensus as to the value of the real property on a per acre basis
 pre-taking. The plaintiffs appraiser valued the property at $9,500.00 per acre and the defendants appraiser valued the
 property at $10,100.00 per acre, which is a difference of only approximately 6%.

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 temporary easement area and that a 20% rental rate is more appropriate to adequately compensate

 the landowner. 4

          The Commission found that both appraisers were highly qualified to testify as to the value

 of the subject properties before and after the taking. As noted earlier, their determinations as to the

 value of the property before the taking and their calculations relating to the compensation to be

 paid for the temporary easements are reasonably similar. However, their opinions on damage to

 the remainder, stigma damages, loss of value and additional loss of value differ greatly.

          Corey Sell Appraisal and Testimony. Mr. Sell testified that the construction of the new

 pipeline on the subject property did not affect the use of the property for its highest and best use,

 which is agricultural. In his report, he concludes that “in order to derive our estimate of percentage

 of property rights taken within the new easement area, we considered a number of factors

 including, but not limited to, present use of the easement area, future use of the easement area,

 building and zoning restrictions, access considerations, market perception as reported by

 participants, and the remaining use and utility of the property within the easement area.”

          During his testimony Mr. Sell stated that he placed significant emphasis on the highest and

 best use, and whether the property owner could continue to utilize the property after the taking for

 its highest and best use. He also testified that while there are certain rights that a property owner

 loses when an easement is on their property, their biggest right is to be able to continue to farm the

 property. He concludes that there was no damage to the remainder of the property because the

 highest and best use does not change, Spire engages in restoration after the construction of the

 pipeline, there is no physical severance of the property, like a railroad line or other aboveground


 4
   The Commission notes that the rental terms of the appraisers differed by one year. Plaintiff’s appraiser used a
 rental term of 3 years, and defendant’s appraiser used a rental term of 2 years. The Commission finds that the 2 year
 rental term is appropriate given that the date of the taking was December 17, 2018, and the letter from Spire to the
 landowner, releasing the right-of-way to the landowner, is dated April 30, 2020 (Plaintiff’s Ex. 23.)

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 impediment, before the taking there was no prospect for future development of the property given

 its location in the flood zone and no improvements were impacted by the construction on the

 property or by the imposition of the easement on the property. Therefore he concludes that there

 is no justification for damages to the remainder.

        During cross-examination, in questioning relating to whether or not there was stigma

 damage because the subject property now has a pipeline on it, Mr. Sell stated that he does not place

 any negative effect from the existence of the pipeline, and he testified that in some cases farm

 properties with one or more pipelines sell for more than properties without pipelines on them. He

 concluded that the existence of a pipeline does not have an effect on the value of farms or their

 remainder value in St. Charles County. He stated that the market for agricultural ground in St.

 Charles County does not care about pipelines. He stated that he spoke to the St. Charles County

 assessor, brokers, other owners, and was told by those parties that pipelines do not matter with

 regard to agricultural property. He stated that in terms of being able to farm the ground, a pipeline

 does not matter. He stated that the market does not bear out the fact that stigma damage affects the

 sale of farm properties with pipelines on them in St. Charles County. He stated that as to safety

 issues with a pipeline, as an appraiser, they are looking at what the market bears out, and there has

 not been an effect on what the market will pay relating to the existence of a pipeline on farm

 property St. Charles County.

        On cross-examination, Mr. Sell agreed that in theory, if the property has a pipeline on it,

 and another property does not have a pipeline, then the property with the pipeline is less valuable

 than the one that does not, because of the reduction in rights, but he concluded that the market may

 not bear that out.




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        Linda Atkinson Appraisal and Testimony. Ms. Atkinson testified as to four components in

 her appraisal report indicating a loss of value. Those are the permanent easement of $24,000.00,

 the temporary easement of $14,000.00, the “loss in value” described below of $134,000.00, and

 the “additional loss in value” of $357,000.00. The total of these four components is $529,000.00.

        Ms. Atkinson concluded in her appraisal report that the subject property suffered loss of

 value, in addition to the before and after value of the permanent easement and the temporary

 easements. She categorize this in her report as “loss of value” and “additional loss of value”.

        With regard to “loss of value”, she stated in her testimony that she assigned a loss of value

 for “stigma damage”, and for loss of the bundle of rights relating to the easement. This portion of

 her testimony did not relate to damage to the property. She stated that stigma damage results from

 a perception that there is a defect in the property if a pipeline exists on the property. Among other

 resources, her report relies on a 2020 report titled The Impact of a Natural Gas Pipeline on

 Property Values, performed by the Forensic Appraisal Group. This report is referred to herein as

 the “Forensic Appraisal Study”. In her report she states that the Forensic Appraisal Study used

 empirical evidence to compute value loss by comparing sales of properties that were impacted by

 a natural gas transmission pipeline to comparable property sales that were not encumbered by a

 pipeline. The study measured the impact on value of the presence of a pipeline. The study found

 that the overall impact ranged from about +2% change in value to -32% change in value, with the

 averages ranging from -13% to -18%. Ms. Atkinson contacted the author of the study. She also

 spoke to other professionals in the St. Charles County area to obtain their professional opinions as

 to the effect of pipelines on the sale price of farm land in St. Charles County. These included Tom

 Shaw of Tom Shaw Realtors and Dan Kluesner of Shockley Realtors. Dan Kluesner advised her

 that pipelines could have a large impact if development could occur on the property, but not a large



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 impact on farm property which could not be developed. Ms. Atkinson also spoke to Jason

 Cleveland, who is with Trophy Properties. She testified that Mr. Cleveland told her that pipelines

 on farm properties caused a reduction of about $200.00 per acre in the sale price of farm property

 in St. Charles County.

        In her testimony, she stated that she applied an 11% loss of value to the remainder of the

 property, which consists of approximately 120.94 acres after the permanent easement area is

 subtracted. Therefore, she concluded that her before value of $10,100.00 per acre was reduced by

 11%, which brought it down to $9,000.00 per acre, after rounding. This resulted in a reduction in

 value of approximately $134,000.00 to the remainder. This is the “loss in value” component

 referred to in her report. During cross-examination, Atkinson testified that she did not find enough

 comparable sale data to conduct a paired sale analysis of farm properties in the area of the subject

 property with a pipeline and without a pipeline. She stated that she did not use the Kevin Machens

 property, because she determined that the purchaser of that property was a motivated buyer. She

 did admit in cross-examination that she could have adjusted for that factor in her report.

        The Commission acknowledges the previous court decisions cited above as support for the

 premise that if fear of a hazard would affect the price a knowledgeable and prudent buyer would

 pay to a similarly well-informed seller, diminution in value caused by that fear may be recoverable

 as just compensation. However, severance damages based wholly on speculation and conjecture

 are precluded. In this case, Ms. Atkinson’s opinion is not based on speculation or conjecture. She

 did rely on substantial information in forming her opinion. She spoke to many people about the

 issue, and spoke to the author of the Forensic Appraisal Study. For the reasons described below,

 the Commission does not believe the value gap is 11%, as Ms. Atkinson concludes in her report,

 but despite this, the Commission finds that Ms. Atkinson had a rational basis for her expert opinion.



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            The Commission finds that while wide price disparities from stigma damage may certainly

 have been present in those paired sale comparisons described in the Forensic Appraisal Study, the

 comparable sale evidence presented at the hearing in the present case demonstrates a much smaller

 gap in prices, and much less stigma damage from the existence of pipelines on farm property sales

 in St. Charles County. While the number of comparable sale with pipelines to compare to those

 without pipelines is admittedly small, they are still useful. At the hearing, evidence was presented

 about four comparable farm sales, all in close proximity to the subject property, and all four

 containing at least one pipeline. In each case, the sale price was significantly higher than the

 $9,000.00 per acre value placed on the subject property by Ms. Atkinson due to the existence of

 the STL Pipeline after the taking. The four comparable sales are as follows:

                             Comparable Sales with Pipelines on the Property

 Description                          Size               Tillable   Easements    $ Per Acre

 Ray and Gary Machens                 76.33               94%       1 ammon.     $10,136.00
 Sale Date 7-5-16                                                   1 gas

 Kevin and Shelly Machens             56.75               92%       2 OPL5       $9,845.00
 Sale Date 2-2-16                                                   2 gas

 Scott Smalley                        22.99               94%       1OPL         $10,922.00
 Sale Date 2-2-16                                                   1 gas

 J. and Lesa Keevan                   83.00                UK       1 gas        $16,116.00
 Sale Date 1-2020

            It is also important to note that Ms. Atkinson’s testimony regarding the diminution in value

 of the subject property, after the installation of the pipeline, which reduced its value to $9,000.00

 per acre, is inconsistent with her testimony in the same hearing relating to the Kevin and Shelly

 Machens tract. In her testimony, and in her appraisal report of the Machens tract, she places a pre-



 5
     “OPL” is the abbreviation for overhead powerline.

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 taking value on the property of $9,900.00 per acre. (Defendant’s Ex. AA., Bates Pg. Machens

 Trial 000083.) As noted above, that parcel is encumbered by two overhead powerline easements

 and two gas easements, which existed before the taking in this case, and which existed at the time

 of her pre-taking opinion of value. The Commission was not persuaded by her testimony that the

 value of the Poggemoeller tract was reduced to $9,000.00 due to the existence of one pipeline, the

 Spire pipeline, but the Machens tract was worth $9,900.00 before the taking, with two gas pipelines

 previously existing on the property.

          Despite these facts, the Commission finds that due to the mere existence of the pipeline,

 located in the center of the property, and the loss of some of the “bundle of rights” over the

 permanent easement, and the other factors identified in footnote 6 below, there is some loss of

 value. The Commission found the testimony of Ms. Atkinson about her conversation with broker

 Jason Cleveland to be reasonably informative and to be persuasive that the effect on the sale price

 of farms in St. Charles County are affected by about $200.00 per acre. The Commission

 unanimously agreed that a reduction of $200.00 per acre to the remainder of 120.94 acres is fair,

 adequate and just compensation for the effect of the pipeline on the property, the loss of the bundle

 of rights over the permanent easement and the other factors identified in footnote 6 below.

 Accordingly, the Commission finds that defendants should be compensated in the amount of

 $24,288.00 for this component of “loss of value”.6



 6
   In reaching this conclusion, the Commission applied numerous factors which affect market condition, which are
 generally accepted appraisal practices and which are permitted considerations in determining fair market value as
 defined by 523.001(1) RSMo, including location of the easement across the property, total easement size as a
 proportion of total parcel size, whether the easement runs through the center of the property or is on the perimeter,
 or cuts the corner of the property, and the fact that potential buyers understand that a permanent easement takes
 away some part of complete dominion and control of the easement area from the owner of the property and Spire
 will have an ongoing right to enter the property should repairs need to be made, and finally, as noted above, any
 stigma associated with the easement. In this case, the location of the easement in the center of the property was
 given weight as a factor detracting from value, but the ratio of total easement area to total tract area (2.12%) is
 considered low, and was not given weight as a factor detracting from value.

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        With regard to “additional loss in value”, Ms. Atkinson testified that she relied on Dr. Rao’s

 cost to cure estimate contained in his report. Ms. Atkinson did not offer an opinion on the cost to

 cure estimates contained in Dr. Rao’s report. She came up with an additional loss of value amount

 of $357,000.00. This additional loss of value component is therefore addressed separately in

 Section V of this report.

        V.      COST TO CURE DAMAGES

        Dr. Rao testified about five general categories of damage to the property arising out of the

 construction of the pipeline: (i) topsoil preservation and loss; (ii) uneven surfaces with major

 depressions and drainage issues; (iii) “shoddy” cleanup after construction; (iv) soil compaction;

 and (v) change of soil profile in the right-of-way. The Commission has addressed each of these

 areas of alleged damages.

        A.      Topsoil Preservation-Loss. In this case, defendants claim damages and loss of

 value totaling approximately $529,000.00, as shown in the summary of value conclusions in Linda

 Atkinson’s appraisal report. (Defendants Ex. Y.) Approximately $357,000.00 of this amount, or

 approximately 67.5%, is ascribed to “Additional Loss in Value” The great majority of this amount

 is allocated for the purpose of adding topsoil to the right-of-way or adding encapsulated worm

 cocoons to the right-of-way to build topsoil. For this reason, the Commission spent considerable

 time analyzing this issue.

        At the hearing, Alan Poggemoeller testified that the right-of-way is 6 inches to 10 inches

 lower than the rest of the parcel. He testified that water in the right-of-way still takes a couple of

 days to drain, whereas before construction, drainage was not an issue. He offered into evidence

 photos, including photos 000014, 000015, 000016 and 000017. (Defendant’s Ex. H.) In photo

 000016, he identified a ponding area, which he estimated would be the approximate size of the



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 courtroom in which he was sitting at the time of his testimony. He indicated that the ponding area

 was approximately 3 inches to 4 inches in depth. He testified that normal farming of the right-of-

 way and the remediation efforts that he has already completed have helped the right-of-way, but

 that work still needs to be done and soil needs to be hauled in, because there are holes and low

 spots in the right-of-way. He stated that he had not obtained a formal bid for adding soil to the

 right-of-way, but said that it would be somewhere around $200,000.00 based on his discussions

 with people who “move dirt all the time”. He says that the right-of-way needs about 6 inches of

 topsoil on average throughout the entire right-of-way; some areas more and some areas less.

        On cross-examination, Mr. Poggemoeller agreed the topsoil was spread back over the

 easement area and that no topsoil had just disappeared. He also agreed that the person he spoke to

 about a bid for topsoil did not do any actual measurements.

        Jay Olsen testified that he was the liaison between plaintiff and defendant. Mr. Olsen said

 he would communicate with defendant and then record notes from his communications into his

 computer. The Agent Acquisition Log containing these notes was received and evidence.

 (Plaintiffs Ex. 40.) Mr. Olson’s testimony, and the Agent Acquisition Log containing his notes

 together show that the defendant was not pleased with how the reclaimed right-of-way looked and

 that there were some low spots that could collect water and the right-of-way was wavy. The notes

 also identify the existence of debris in the right-of-way or on the defendants’ property after

 construction had been completed. It is also clear from Mr. Olsen’s testimony that while he and Mr.

 Poggemoeller did speak about low spots and holes in the property, those issues were never resolved

 because the contractor, Michaels, pulled out in the fall and it was too wet to correct the problems

 at that time. In July, Mr. Olsen’s services were no longer needed, and the communications between

 plaintiff and defendants essentially ceased at that time.



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        The construction and restoration standards which apply to the segregation and replacement

 of topsoil are generally as follows:

                         From the Environmental Assessment

 8.1 General Pipeline Construction Procedures




 (Plaintiff’s Ex. 2, Bates Pg. Spire 005142.)




                                 [Remainder of this page left blank.]




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 8.2 Special Pipeline Construction Procedures




 (Plaintiff’s Ex. 2, Bates Pg. Spire 005148.)




                                [Remainder of this page left blank.]




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           From the Upland Erosion Control, Revegetation, and Maintenance Plan




 (Plaintiff’s Ex. 3, Bates Pg. Spire 005592.)




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          Dr. Rao testified that he believed topsoil was not preserved and the trench was not

 backfilled properly. In his report he states: “By observing the field contour of the right-of-way

 after construction, it is evident that the topsoil was not preserved, and the trench was not backfilled

 properly. Since construction continued during and after heavy rain events, it is possible that some

 of the segregated topsoil was lost due to runoff. It is very hard to quantify how much was lost or

 place a dollar figure on it. Additional topsoil measuring off right-of-way will help to determine the

 potential on right-of-way loss of topsoil.” (Defendants Ex. K.)

        Plaintiff’s rebuttal expert, Aaron DeJoia, testified that defendants have presented no data

 to establish the topsoil was lost during construction. He points out that Dr. Rao never measured

 the topsoil depths or quantified the amount of topsoil loss in his report. DeJoia includes in his

 report topsoil measurements taken by plaintiff prior to construction. Those are shown in Table 1

 of the report. (Plaintiff’s Ex. 25.) While these measurements are somewhat helpful, post-

 construction topsoil measurements were not provided, so the Commission is not able to make a

 direct comparison.

        The Commission is able to conclude, however, that plaintiff adhered to the topsoil

 segregation and preservation requirements described above. This is best illustrated by the 2019

 flyover videos taken from a helicopter, and offered into evidence by plaintiff during the testimony

 of Russell English. (Plaintiff’s Ex. 37.) Specifically, the flyover videos from March 18 and April

 1, 2019 clearly show the topsoil windrows piled along the trench, and separated from the subsoil

 dug out of the trench. The April 29, 2019 flyover video shows vegetation beginning to grow on

 the topsoil windrows. The May 29, 2019 flyover video shows healthy vegetation growth on the

 windrows. The June 10, 2019 flyover video shows the flood water beginning to inundate the field,

 but you can still see the existence of the windrows and the vegetation growing on them. In the June



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 24, 2019 flyover video, the windrows are still present, and there is still vegetation growing on most

 areas of the windrows. As a result of this being a very flat parcel of property, it is clear that, even

 during and after the flood that occurred in June 2019, the topsoil was not carried away or washed

 away by water currents or water flow. Finally, the flyover video of September 30, 2019 clearly

 shows the topsoil after it was replaced over the right-of-way area, and it is dark in color and appears

 to be evenly spread. Based upon these video images, and the testimony of Russell English, the

 Commission finds that plaintiff did adhere to the topsoil segregation and preservation requirements

 referred to above.

        The Commission Instructions, Section S, places the burden of proof on the defendant.

 Under Missouri law, the defendant landowner has the burden of proving by the greater weight of

 the evidence the amount of damages to which the landowner is entitled. Therefore, the landowner

 has the burden of causing the Commission to believe that a respective proposition is more likely

 true than not true. With regard to the claim that the topsoil in the entire right-of-way is 6 inches to

 10 inches lower than the rest of the parcel, the Commission is not persuaded that this is true, and

 therefore the Commission does not recommend an award of damages for loss of topsoil over the

 entire right-of-way.

        B.      Uneven Surfaces with Major Depressions and Drainage Issues.

        The Commission observed obvious low spots and holes in defendants’ property. The

 existence of uneven surfaces, major depressions and drainage issues are easily visible in the flyover

 videos taken by helicopter and offered into evidence by plaintiff. (Plaintiff’s Ex. 37.) Perhaps the

 best illustration of this during wet conditions is the flyover video taken on December 1, 2019. This

 video shows numerous low spots, holes, and wet areas. Further, these same low spots, holes and

 wet areas are particularly notable in the flyover video from July 6, 2021. (Plaintiff’s Ex. 39.) In



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 this video, it is clear that some of the low spots, holes and wet areas are severe enough to prevent

 crop growth altogether. The Commission also finds that, given the amount of time that has passed

 between the completion of construction and the flyover video taken on July 6, 2021, the existence

 of damage to defendant’s property, in the form of low spots, uneven surfaces with major

 depressions and drainage issues is ascertainable and can be reasonably quantified at this time.

        After reviewing all of the flyover videos and photographs of defendant’s property, the

 Commission concludes there are at least four large to medium size low spots, holes and depressions

 and three smaller low spots, holes and depressions on the property which affect the growth of

 crops, farming operations, drainage and planting patterns. The Commission recommends that

 defendants be awarded compensation to correct these issues.

        Based upon the testimony of Dr. Rao, one truckload of topsoil is equal to 12 cubic yards.

 He states in his report that 449 truckloads of topsoil will cover 6.68 acres at a depth of 6 inches.

 (Defendants’ Ex. K.) According to this calculation, it would require 806.58 cubic yards of topsoil

 to cover 1 acre at a depth of 6 inches.

        The Commission concludes that the uneven surfaces, holes, major depressions and low

 spots affect approximately 1.25 acres of the total right-of-way area of 6.68 acres. The Commission

 also concludes that to fill these at a depth of 6 inches will require 1,008.25 cubic yards of topsoil.

 According to the testimony of Aaron DeJoia, the cost and selection of topsoil for this purpose can

 be obtained from Arnold’s Custom Seeding for the approximate amount of $28.00 per cubic yard,

 delivered. (Plaintiff’s Ex. 25.) Therefore, the Commission recommends that plaintiff be ordered

 to pay to defendant the sum of $28,231.00 as and for the cost of 1,008.25 cubic yards of topsoil

 with delivery included in this price.




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        Pursuant to the Plan, Section V (5), during restoration plaintiff is required to grade the

 construction right-of-way to restore pre-construction contours and leave the soil in proper

 condition for planting. Alan Poggemoeller testified about significant drainage problems, some of

 which related to ditches being blocked, which was later corrected by plaintiff. However, other

 drainage issues have persisted. Further, Mark Poggemoeller testified that to reduce the drainage

 and ponding issues on the property, it would be necessary to utilize a bulldozer with a GPS system

 to read the low spots and then import soil to those areas that cannot be made level during the

 grading process. The Commission concludes that the right-of-way area will need to be re-graded

 to restore pre-construction contours. Therefore, the Commission recommends that defendant be

 awarded sum of $1,800.00 to pay for the cost of regrading the right-of-way area to original

 contours. This calculation is made based upon a rate of $225.00 per hour for eight hours of services,

 using a GPS on a bulldozer with operator. This award is to cover the cost of the use of the

 equipment and the cost of the operator of the equipment.

        C.      Shoddy Cleanup After Construction.

        Defendant seeks damages for shoddy post construction cleanup after in the amount of

 $544.50. In the Agent Acquisition Log notes of Jay Olsen, there are numerous references to mats,

 skids and other junk that Michael’s left on the property. (Plaintiff’s Exhibit 40.) The Commission

 concludes that the Agent Acquisition Log notes corroborate the testimony of Alan Poggemoeller

 that junk, debris, mats, and skids were left on or about the right-of-way area or the property

 generally, and therefore the Commission concludes that the award of $544.50 is reasonable. The

 Commission recommends that plaintiff pay to defendant the sum of $544.50 for cleanup expenses.




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        D.      Soil Compaction.

        Defendant seeks compensation to ameliorate soil compaction in the right-of-way. This

 includes wheat straw mulch and pellet injections, and planting of cover crops. Dr. Rao testified

 soil compaction was present, and that soil penetrometer and bulk density studies indicate

 significant compaction and loss in pore space.

        In rebuttal, Aaron DeJoia asserted that the bulk density data presented by Dr. Rao was

 obtained from the top 3 inches of the soil profile, which has been tilled prior to planting the crop,

 and that characteristics of soil near the surface are sensitive to land management techniques and

 are not reflective of the greater soil profile. Additionally, he testified that the bulk density data

 collected by Dr. Rao does not indicate that root growth will be negatively impacted, and that soil

 strength measurements obtained by the Environmental Inspector for plaintiff indicate that dense

 layers were greater than 17 inches below the surface. (Plaintiff’s Ex. 25)

        Soil compaction mitigation is covered by the Plan which states:




 (Plaintiff’s Ex. 3, Bates Pg. Spire 005598 and 005599.)


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         Mr. DeJoia’s report includes the Decompaction Report which describes the decompaction

 procedures that were undertaken on the right-of-way on or about September 25, 2019. This report

 shows that subsoils were ripped with a deep tillage implement (rake attachment on track hoe) and

 the subsoil was left open for a day to dry in the sunlight before being graded with the dozer. It is

 the opinion of the Environmental Inspector that decompaction was successful. The decompaction

 readings contained in the report support this conclusion. Additionally, photographs are included

 with the report illustrating the decompaction procedures being undertaken, and the subgrade after

 ripping, left open for it to dry. Finally, the report includes a pictures of the penetrometer readings

 being taken on the property.

         The Commission concludes that plaintiff followed the decompaction requirements of the

 Plan, and that decompaction was successful. For these reasons, the Commission does not

 recommend an award of compensation to defendant for compaction of the soil in the right of way.

         E.      Change of Soil Profile in the Right-of-Way.

         Dr. Rao concludes in his report that pipeline construction caused changes in the soil profile

 in the right of way. He concludes that soil particle composition, structure and appearance are

 different and changed for the worse. He further concludes that soil structure is cloddy and

 undesirable in the right-of-way, compared to a much more desirable granular like structure in the

 rest of the field and that the right-of-way is now susceptible to soil surface crusting. In terms of

 how to correct this, he states that it is hard to correct, but that the previously discussed amelioration

 of adding topsoil, worms and cover crops should help over time. (Defendants’ Ex. K.)

         Aaron DeJoia states in his report there is no agronomic difference in the soil texture

 between the on right-of-way and off right-of-way soil based upon the data provided by defendant,

 that the soil structure is expected, based upon pipeline construction and topsoil handling



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 techniques, and the soil structure will improve as crops are grown. He also indicates that soil

 texture on right-of-way will not negatively impact crop productivity, and that soil structure will

 not negatively impact crop productivity once normal farming practices are used. (Plaintiff’s Ex.

 25.).

         Under the Plan, restoration shall be considered successful if the right-of-way surface

 condition is similar to adjacent undisturbed lands, construction debris is removed, revegetation is

 successful, and proper drainage has been restored. In agricultural areas, revegetation shall be

 considered successful when upon visual survey, crop growth and vigor are similar to adjacent

 undisturbed portions of the same field. (Plaintiff’s Ex. 3, Bates Pg. Spire 005601.)

         The Commission finds that the right-of-way surface condition is similar to adjacent

 undisturbed lands (except for those areas with low spots, holes and depressions, which are

 addressed above). Further, the Commission believes the crop growth and vigor, judged by visual

 survey by the Commission in the flyover videos, is similar to adjacent undisturbed portions of the

 same field. Drainage and grading issues have also been address in this report. Therefore, the

 Commission finds that changes in the soil profile on the right-of-way described in Dr. Rao’s report

 do not affect crop growth and vigor, appearance, drainage or revegetation. The Commission does

 not recommend compensation to defendants for this claim of damages.

         In sum, having weighed all of the evidence, the Commission determines that Spire owes to

 the defendants the amounts of compensation and damages set forth in the summary chart

 incorporated herein as Exhibit A. The Commission recommends the Court order Spire to pay the

 total compensation and damages to the defendants in these amounts.

         All aspects of this decision are unanimous.




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 RESPECTIVELY SUBMITTED,


 For the Commission:

 /s/ Thomas M. Lang                               /s/ Dave Rohlfing
 Thomas M. Lang                                   Dave Rohlfing
 Commission Chair                                 Member


 /s/ Edward Dinan                                 /s/ John Matlick
 Edward Dinan                                     John Matlick
 Member                                           Member


 /s/ Timothy R. Huff
 Timothy R. Huff
 Member


 Dated September 2, 2021




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                                        EXHIBIT A

     SUMMARY OF RECOMMENDATION OF COMPENSATION AND DAMAGES

         (Alan Poggemoeller and Sharon Poggemoeller-Tract No. MO-SC 307.000)



       DESCRIPTION                                        AMOUNT

       Value of Permanent Pipeline Easement               $23,670.00
       Total Market Rent for Temporary Easements          $16,200.00
       Loss of Value to 120.94 Remainder                  $24,188.00
       Topsoil to Fill Holes, Low Spots and Depressions   $28,231.00
       Cost of Regrading ROW Contours                     $ 1,800.00
       Cleanup Costs                                      $ 544.50

       Total Just Compensation and Damages                $94,633.50




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